Dear Mr. Sexton:
Enclosed please find a letter from Mr. Morris J. Chandler, Executive Director, Housing Authority of the Town of Colfax, P. O. Box 179, Colfax, Louisiana, 71417-0179.
This inquiry is in reference to whether 1) there is a conflict of interest with a Housing Authority Commission Member holding the City Mayor office while still on the Board of Commissioners; 2) there is a conflict of interest with the City Mayor (if elected) having rental property under the Section 8 subsidized rental program; 3) there is a conflict of interest with a Housing Authority Board Member serving on the City Council and retaining his Commissioner's status? As this is within your jurisdiction, I am forwarding this letter for your response.
Very truly yours,
                        Richard P. Ieyoub Attorney General
                        By: Kenneth C. Dejean General Counsel